              Case 8:22-cv-00868-JVS-ADS Document 80-1 Filed 12/14/22 Page 1 of 2 Page ID #:2173




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                    8                                   UNITED STATES DISTRICT COURT
                    9               CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
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                   11 TREVOR BAUER,                                     Case No. 8:22-cv-00868-JVS-ADS
                   12                      Plaintiff,                   PROPOSED ORDER ON
                                                                        DEFENDANT NIRANJAN FRED
                   13             vs.                                   THIAGARAJAH’S APPLICATION
                                                                        FOR ATTORNEYS’ FEES
                   14 LINDSEY C. HILL AND NIRANJAN                      PURSUANT TO CAL. CIV. PROC.
                      FRED THIAGARAJAH,                                 CODE § 425.16(c)
                   15
                               Defendants.
                   16                                                   Judge: Hon. James V. Selna
                   17                                                   Action Filed:        April 25, 2022
                                                                        Trial Date:          February 13, 2024
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LEWIS              28
BRISBOIS                4867-3273-2996.1
BISGAARD
& SMITH LLP                                                                             Case No. 8:22-cv-00868-JVS-ADS
ATTORNEYS AT LAW                                                PROPOSED ORDER RE: APPLICATION FOR ATTORNEY FEES
              Case 8:22-cv-00868-JVS-ADS Document 80-1 Filed 12/14/22 Page 2 of 2 Page ID #:2174




                    1            Defendant NIRANJAN FRED THIAGARAJAH’s Application for an award of
                    2 attorneys’ fees and costs against Plaintiff TREVOR BAUER (“Plaintiff”) pursuant to
                    3 Cal. Civ. Proc. Code § 425.16(c) is GRANTED. Defendant NIRANJAN FRED
                    4 THIAGARAJAH is awarded attorneys’ fees and costs in the amount of $55,355.
                    5
                    6            IT IS SO ORDERED.
                    7
                    8 DATED: ________________
                    9                                         HON. JAMES V. SELNA
                                                              Judge Presiding
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LEWIS              28
BRISBOIS                4867-3273-2996.1
BISGAARD
& SMITH LLP                                                                     Case No. 8:22-cv-00868-JVS-ADS
ATTORNEYS AT LAW                                        PROPOSED ORDER RE: APPLICATION FOR ATTORNEY FEES
